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                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                   im c        15 i:   i-32
JOHN PRICE,

                                                                  ALF.;;.;;;
                                       Plaintiff,

                                                     CaseNo.       /> / £ cV IK °                 /
MARK ORDAN, GLYN AEPPEL, THOMAS                      JURY TRIAL DEMANDED                      '
DONOHUE, STEPHEN HARLAN, PAUL
KLAASSEN,           LYNN         KROMINGA,
WILLIAM       LITTLE,    SUNRISE      SENIOR
LIVING, INC., HEALTH CARE REIT, INC.,
BREWER HOLDCO,        INC., BREWER
HOLDCO SUB, INC., and RED FOX INC.,

                                   Defendants.




                                         COMPLAINT


       Plaintiff John Price ("Plaintiff), by his attorneys, alleges upon information and belief,

except for his ownacts, which are alleged on knowledge, as follows:

       1.     Plaintiff brings this class action against members of the Sunrise Senior Living,
Inc. ("Sunrise" or the "Company") Board of Directors (the "Board" or the "Individual

Defendants") for their breaches of fiduciary duties arising out of their attempt to sell the
Company to Health Care REIT, Inc. ("Health Care REIT") for an unfair price and without

material information necessary for shareholders to make an informed vote. Additionally,
Plaintiff, individually, brings a claim against Defendants for their violations of Sections 14(a)
and 20(a) of the Securities Exchange Act of 1934 (the "Exchange Act") and Rule 14a-9
promulgated thereunder ("Rule 14a-9").

       2.     On August 22, 2012, Health Care REIT and the Company announced a definitive

agreement under which Health Care REIT, through the companies' wholly owned subsidiaries
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